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                  UNITED STATES DISTRICT COURT
                                 District of Kansas
                                  (Wichita Docket)


UNITED STATES OF AMERICA,

                           Plaintiff,

             v.                                  CASE NO. 22-CR-10054-001-JWB

TREMAYNE M. DARKIS,

                           Defendant.




                                INDICTMENT

      THE GRAND JURY CHARGES:

                                        COUNT 1
                             POSSESSION OF A FIREARM
                              BY A CONVICTED FELON
                                [18 U.S.C. § 922(g)(1)]

      On or about June 20, 2020, in the District of Kansas, the defendant,

                             TREMAYNE M. DARKIS,

knowing that he had previously been convicted of a crime punishable by imprisonment for

a term exceeding one year (a felony), did knowingly and unlawfully possess, in and

affecting commerce, a firearm, namely, a Strassell’s Mach Inc (Hi-point Firearms), model



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C9, 9mm Luger caliber pistol, which was not produced in the state of Kansas and had been

shipped and transported in interstate commerce.

       In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

                                        COUNT 2
          POSSESSION WITH INTENT TO DISTRIBUTE METHAMPHETAMINE
                             [21 U.S.C. § 841(a)(1)]

       On or about June 20, 2020, in the District of Kansas, the defendant,

                               TREMAYNE M. DARKIS,

did unlawfully, knowingly, and intentionally possess with the intent to distribute fifty (50)

grams or more of methamphetamine, a controlled substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A).

                                        COUNT 3
                     POSSESSION OF A FIREARM IN FURTHERANCE
                          OF A DRUG TRAFFICKING CRIME
                               [18 U.S.C. § 924(c)(1)(A)]

       On or about June 20, 2020, in the District of Kansas, the defendant,

                               TREMAYNE M. DARKIS,

did unlawfully and knowingly possess a firearm in furtherance of a drug trafficking crime

for which he may be prosecuted in a court of the United States, that is, possession with

intent to distribute a controlled substance, to wit: Methamphetamine.

       In violation of Title 18, United States Code, Sections 924(c)(1)(A)(i) and

924(c)(1)(C)(i).




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                                FORFEITURE NOTICE

       1.      The allegations contained in Counts 1 through 3 of this Indictment are hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to

Title 18, United States Code, Section 924(d) and Title 28, United States Code, Section

2461(c).

                          Firearms and Ammunition Forfeiture

       2.      Upon conviction of one or more of the offenses set forth in Counts 1 through

3 of this Indictment, the defendant, shall forfeit to the United States, pursuant to Title 18,

United States Code, Section 924(d) and Title 28, United States Code, Section 2461(c), any

firearms and ammunition involved in the commission of the offenses, including, but not

limited to:

               A.    A Strassell’s Mach Inc (Hi-point Firearms), model C9, 9mm Luger
                     caliber pistol, bearing serial number P1931335; and

               B.    Ammunition.

       All pursuant to Title 18, United States Code, Section 924(d), and Title 28, United

States Code, Section 2461(c).

                            Controlled Substances Forfeiture

       3.      Upon conviction of the offense set forth in Count 2 of this Indictment, the

defendant shall forfeit to the United States, pursuant to Title 21, United States Code,

Section 853, any property constituting or derived from any proceeds obtained, directly or

indirectly, as the result of such offense and any property used or intended to be used, in




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any manner or part, to commit or to facilitate the commission of the offense, including but

not limited to:

              A.     A Strassell’s Mach Inc (Hi-point Firearms), model C9, 9mm Luger
                     caliber pistol, bearing serial number P1931335; and

              B.     Ammunition.

       All pursuant to Title 18, United States Code, Section 924, Title 21, United States

Code, Section 853, and Title 28, United States Code, Section 2461(c).

                                                A TRUE BILL.


August 9, 2022                                  s/Foreperson
DATE                                            FOREPERSON OF THE GRAND JURY



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       IT IS REQUESTED THAT THE TRIAL BE HELD IN WICHITA, KANSAS




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                                        PENALTIES

Count 1       18 U.S.C. § 922(g)(1)
              [Possession of a Firearm by a Convicted Felon]

              •      Punishable by a term of imprisonment of not more than ten (10) years. 18
                     U.S.C. § 924(a)(2).

              •      A term of supervised release of not more than three (3) years. 18 U.S.C. §
                     3583(b)(2).

              •      A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

              •      A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

              •      Forfeiture.

Count 2:      21 U.S.C. § 841(a)(1)
              [Possession with Intent to Distribute Methamphetamine]
              •      Punishable by a term of imprisonment of not less than ten (10) years and
                     not more than life. 21 U.S.C. § 841(b)(1)(A).

              •      A term of supervised release of at least five (5) years. 21 U.S.C. §
                     841(b)(1)(A).

              •      A fine not to exceed $10 million. 21 U.S.C. § 841(b)(1)(A).

              •      A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

              •      Forfeiture.

If the defendant commits such a violation after a prior conviction for a serious drug felony or
serious violent felony has become final, the penalties are:

              •      A term of imprisonment of not less than fifteen (15) years and no more than
                     life. 21 U.S.C. § 841(b)(1)(A).

              •      A term of supervised release of at least ten (10) years. 21 U.S.C. §
                     841(b)(1)(A).

              •      A fine not to exceed $20 million. 21 U.S.C. § 841(b)(1)(A).

              •      A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

              •      Forfeiture.

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Count 3      18 U.S.C. § 924(c)(1)(A)
             [Possession of a Firearm in Furtherance of a Drug Trafficking Crime]

             •      Punishable by a term of imprisonment of not less than five (5) years and no
                    more than life. 18 U.S.C. § 924(c)(1)(A)(i). This term of imprisonment
                    runs consecutive to any other term of imprisonment imposed on the
                    defendant. 18 U.S.C. § 924(c)(1)(D)(ii).

             If the defendant has a prior conviction for a violation of § 924(c)(1)(A), the
             instant offense is punishable by a term of imprisonment of not less than
             twenty-five (25) years and not more than life. 18 U.S.C. § 924(c)(1)(C)(i). This
             term of imprisonment runs consecutive to any other term of imprisonment
             imposed on the defendant.

             •      A term of supervised release of not more than five (5) years. 18 U.S.C. §
                    3583(b)(1).

             •      A fine not to exceed $250,000. 18 U.S.C. § 3571(b)(3).

             •      A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

             •      Forfeiture.




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